              Case 19-10495-elf                     Doc 17-2            Filed 04/16/19 Entered 04/16/19 15:01:08                       Desc
                                                                       Exhibit Page 1 of 1
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re       Juanita Nance                                                                                    Case No.      19-10495
                                                                                   Debtor(s)                  Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,000.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  4,000.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Dan Harris may appear at 341(a) meeting

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, lien avoidances, relief from stay actions or any
               other adversary proceeding, trustee motions to dismiss, Objections to claims, adding of creditors, handling of
               objections to confirmation by Creditor or Trustee, negotiations with creditors to reduce or determine value of
               claims and any other legal work not contemplated above, additional 341 meetings for failure to appear. Fees
               charged at hourly rate of $335.00 per hour.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 28, 2019                                                              /s/ David M. Offen
     Date /s/Juanita Nance                                                         David M. Offen
                                                                                   Signature of Attorney
                                                                                   Law Offices of David M. Offen
                                                                                   Suite 160 West - The Curtis Center
                                                                                   601 Walnut Street
                                                                                   Philadelphia, PA 19106
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